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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


 United States of America,                                      Case No. 18-cr-0321 (WMW)

                                 Plaintiff,
                                                    FINAL ORDER OF FORFEITURE
        v.

 Martes Niyum Brooks,

                                 Defendant.


       WHEREAS, on April 23, 2019, this Court entered a Preliminary Order of Forfeiture

forfeiting certain property to Plaintiff United States of America pursuant to 18 U.S.C.

§ 924(d)(1) and 28 U.S.C. § 2461(c);

       WHEREAS, the United States posted a Notice of Criminal Forfeiture for a least 30

consecutive days on an official government internet site (www.forfeiture.gov), beginning

on November 23, 2019, providing notice of the government’s intention to dispose of the

property in accordance with law, and of the right of third parties to petition the Court within

60 days of the first date of posting for a hearing to adjudicate the validity of their alleged

legal interest in the property; and

       WHEREAS, no petitions have been filed with the Clerk of Court and the time for

filing a petition has expired.

       NOW, THEREFORE, IT IS HEREBY ORDERED that:

       1.      Plaintiff United States of America’s motion for a final order of forfeiture,

(Dkt. 45), is GRANTED.
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      2.     All right, title and interest in the Charter Arms .38 caliber pistol bearing serial

number 1225521, are hereby forfeited to and vested in the United States pursuant to 18

U.S.C. § 924(d)(1) and 28 U.S.C. § 2461(c).

      3.     The United States shall dispose of the property in accordance with law.

      LET JUDGMENT BE ENTERED ACCORDINGLY.


Dated: September 25, 2020                                 s/Wilhelmina M. Wright
                                                          Wilhelmina M. Wright
                                                          United States District Judge




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